Case 5:24-cv-01940-SSS-SHK   Document 53    Filed 04/02/25     Page 1 of 5 Page ID
                                   #:641


  1   ROBERT L. URIARTE (SBN 258274)
      ruriarte@orrick.com
  2   AVERY CARTWRIGHT (SBN 354724)
      acartwright@orrick.com
  3   ORRICK, HERRINGTON & SUTCLIFFE LLP
      355 S. Grand Avenue
  4   Los Angeles, CA 90071
      Telephone: +1 213 629 2020
  5   Facsimile: +1 213 612 2499
  6   CHARLES WEINER (Pro Hac Vice)
      charles@charlesweinerlaw.com
  7   LAW OFFICE OF CHARLES WEINER
      99 Lantern Drive, Suite 202
  8   Doylestown, PA 18901
      Telephone: + 1 267-685-6311
  9   Facsimile: +1 215-340-768
10    Attorneys for Defendant/Cross-Complainant
      STEPHEN LAU
11
12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14                           EASTERN DIVISION
      AMERICAN INSTITUTE OF            Case No. 5:24-cv-01940-SSS-SHKx
15    CERTIFIED PUBLIC
      ACCOUNTANTS,                     INDEX OF EXHIBITS IN
16                                     SUPPORT OF EX PARTE
                  Plaintiff,           APPLICATION FOR
17                                     PRELIMINARY INJUNCTIVE
          v.                           RELIEF
18
      STEPHEN LAU,
19
                    Defendant.
20
21    STEPHEN LAU,

22                   Cross-Complainant,

23         v.

24    AMERICAN INSTITUTE OF
      CERTIFIED PUBLIC
25    ACCOUNTANTS,

26                   Cross-Defendant,

27
28
                                                             INDEX OF EXHIBITS RE EX PARTE
                                                                                 APPLICATION
                                                              CASE NO. 5:24-CV-01940-SSS-SHKX
Case 5:24-cv-01940-SSS-SHK     Document 53     Filed 04/02/25     Page 2 of 5 Page ID
                                     #:642


  1         Movant Stephen Lau respectfully submits the following Index of Exhibits
  2   offered in support of his Ex Parte Motion for Preliminary Injunctive Relief.
  3
  4                                INDEX OF EXHIBITS
  5
  6     Exhibit                              Document Name
  7       No.
  8        1                           CBA Initial Licensing FAQs
  9        2         CBA Member Guidelines and Procedures Manual, January 2025
10         3                   “Functions and History of the CBA” webpage
11         4                               CBA Quicktips PDF
12         5                                 CBA Homepage
13         6           “Video and Information About How to Apply” CBA webpage
14         7                           Video file (physically lodged)
15         8                   “Apply for Examination Now” CBA webpage
16         9                  “Reasonable Accommodations” CBA webpage
17        10                           NASBA CPA exam webpage
18        11                             NASBA Candidate Guide
19        12                      CBA Application Information webpage
20        13                         CBA Establish Account webpage
21
          14                         NASBA Payment Portal website
22
          15                          NASBA Exam Scores webpage
23
          16                        NASBA CPA Exam FAQ webpage
24
          17                         Prometric Pro Scheduler webpage
25
          18                       Prometric Scheduler Policy webpage
26
          19                Prometric “Uniform” AICPA Agreement webpage
27
          20                              AICPA FAQ webpage
28
                                                                INDEX OF EXHIBITS RE EX PARTE
                                              -2-                                   APPLICATION
                                                                 CASE NO. 5:24-CV-01940-SSS-SHKX
Case 5:24-cv-01940-SSS-SHK     Document 53    Filed 04/02/25     Page 3 of 5 Page ID
                                     #:643


  1
          21                 AICPA “When You’ll Get Your Scores” webpage
  2
          22                  AICPA Exam Scoring and Pass Rates” webpage
  3
          23            CBA Disability Accommodations Confirmation Letter
  4
          24                 Stephen Lau CBA Credit Status Information Sheet
  5
          25                    January 21, 2025 CBA Letter re FAR Score
  6
          26                    Stephen Lau email to AICPA re FAR score
  7
          27                  AICPA “Internal” Informed Consent Document
  8
          28          3/27/2025 Email from AICPA Counsel to Mr. Lau’s Counsel
  9
10
11
12    Dated: April 2, 2025              ORRICK, HERRINGTON & SUTCLIFFE LLP
13
14                                      By: /s/ Robert L. Uriarte
15                                                    ROBERT L. URIARTE
                                            Attorneys for Defendant/Cross-Complainant
16                                                        STEPHEN LAU

17
18
19
20
21
22
23
24
25
26
27
28
                                                               INDEX OF EXHIBITS RE EX PARTE
                                             -3-                                   APPLICATION
                                                                CASE NO. 5:24-CV-01940-SSS-SHKX
Case 5:24-cv-01940-SSS-SHK   Document 53    Filed 04/02/25    Page 4 of 5 Page ID
                                   #:644


  1
  2
  3
  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                     MOTION FOR PRELIMINARY INJUNCTIVE RELIEF
                                           -1-               CASE NO. 5:24-CV-01940-SSS-SHKX
Case 5:24-cv-01940-SSS-SHK   Document 53    Filed 04/02/25    Page 5 of 5 Page ID
                                   #:645


  1
  2
  3
  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                     MOTION FOR PRELIMINARY INJUNCTIVE RELIEF
                                           -1-               CASE NO. 5:24-CV-01940-SSS-SHKX
